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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION

LISA WATKINS                                                                         PLAINTIFF


v.                                 Case No. 3:20-cv-00246-JTK


KILOLO KIJAKAZI,                                                                   DEFENDANT
Acting Commissioner
Social Security

                                             ORDER

       Before the Court is Plaintiff’s Motion for Judgment. (Doc. No. 16)

       On January 22, 2021, Defendant filed a Motion to Remand this case to the Commissioner

for further administrative proceedings (Doc. No. 11), which was granted by the Court on January

25, 2021. (Doc. No. 12) Along with this order, the Court also entered a separate Judgment. (Doc.

No. 13) On January 26, 2021, Plaintiff filed a Motion to Withdraw the Judgment (Doc. No. 14),

arguing that the entry of judgment was premature pursuant to sentence six of 42 U.S.C. § 405(g).

Unlike a sentence-four remand where an immediate judgment is entered, a sentence-six remand

requires judgment to be withheld until post-remand proceedings are concluded. Therefore, on

January 27, 2021, the Court rescinded the entry of judgment until such time as the post-remand

proceedings have been concluded. (Doc. No. 15) Following the remand entered by this Court on

January 25, 2021, the Commissioner entered a decision favorable to the Plaintiff, which concluded

the proceedings. As such, an entry of judgment is now ripe in this case and Plaintiff’s Motion for

Judgment (Doc. No. 16) is granted. The clerk is directed to administratively close this file.

       SO ORDERED THIS 26th day of May, 2022.
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                                 ____________________________________
                                 JEROME T. KEARNEY
                                 UNITED STATES MAGISTRATE JUDGE
